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         HMI HOUSTON MEDICAL IMAGING
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Patient Name: Voris, Gary                                              MF^vN#: HMI399848
Date: 12/26/2023                                                       ACC#: 2860456
Referring Physician: Peters, Richard J                                 7133555343(P)7133556999(F)
Exam: 72148 - MRI LUMBAR WO                                            DOB: 8/20/1961


CLINICAL INDICATION:                 M54.16, Radiculopathy, lumbar region

MODALITY: Three Tesla Siemens Shepherd

TECHNIQUE:         Multiplanar multi sequence MRI examination of the lumbar spine was
performed.

IMPRESSION:
1. Normal vertebral body heights, disc desiccation at all levels with mild disc narrowing
L5-S1.
2. At L4-L5, 3 mm broad-based disc osteophyte protrusion v/iih superimposed 4 mm right
sub foraminal and proximal foraminal disc protrusion that has mild mass effect on
descending right L5 nerve root and proximal exiting right L4 nerve root, (series 98, image 16)
(series 98, image 16) There is moderate bilateral facet arthropathy. Central canal away from
disc protrusion Is patent. There is mild bilateral peripheral foramina! narrowing.


FINDINGS:


COMPARISON:


General observations:
There are five lumbar-type vertebra. There is a normal lordosis. There is no significant
scoliosis. There is disc desiccation at all levels. There is mild disc narrowing L5-S1.


The conus ends at T12-L1. The cauda equina nerve roots descend normally.


FINDINGS AT SPECIFIC LEVELS;


L5-S1: There is no disc protrusion, i here is mild bilateral facet arthropathy. The central canal and
foramina are patent.

L4-L5: There is a 3 mm broad-based disc osteophyte protrusion with superimposed 4 mm right sub
foraminal and proximal foraminal disc protrusion that ha.s mild mass effect on descending right L5
nerve root and proximal exiting right L4 nerve root. Thera is moderate bilateral facet arthropathy.
Central canal away from disc protrusion is patent. There is mild bilateral peripheral foraminal
narrowing.



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 ACC#: Z860456


L3-L4: There is no disc protrusion or facet arthropathy. The central canal and foramina are patent.

L2-L3; There is no disc protrusion or facet arthropathy. The central canal and foramina are patent.

L1-L2: There is no disc protrusion or facet arthropathy. The central canal and foramina are patent.


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Byron J Bohnn, MD
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Patient Na.-rie: Vor s. Gar;,
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